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                  7
                        Attorneys for Defendants Caydon San Diego
                  8     Property LLC and Alex Beaton, and Specially
                        Appearing Defendants Caydon USA Holding
                  9     LLC and Caydon USA Property Group LLC
                 10
                                            UNITED STATES DISTRICT COURT
                 11
                                         SOUTHERN DISTRICT OF CALIFORNIA
                 12
Glaser Weil




                        THE PEOPLE OF THE STATE OF               CASE NO.: 3:23-cv-01296-DMS-KSC
                 13     CALIFORNIA and CITY OF SAN
                        DIEGO, a municipal corporation,          DECLARATION OF ELIZABETH A.
                 14                                              SPERLING IN SUPPORT OF
                                         Plaintiffs,             DEFENDANTS’ MOTION FOR RULE
                 15                                              41(d) AWARD OF FEES AND COSTS
                        v.                                       AGAINST PLAINTIFFS AND FOR
                 16                                              STAY OF PROCEEDINGS PENDING
                        CAYDON SAN DIEGO PROPERTY                PAYMENT
                 17     LLC, a Delaware Limited Liability
                        Company; CAYDON USA HOLDING              [Filed concurrently with Notice of Motion
                 18     LLC, a Texas Foreign Limited Liability   and Memorandum of Points and
                        Company and a Delaware Limited           Authorities]
                 19     Liability Company; CAYDON USA
                        PROPERTY GROUP, LLC, a Delaware          Date filed: June 12, 2023
                 20     Limited Liability Company; MATTHEW       Removal date: July 14, 2023
                        HUTTON, Receiver and Manager of
                 21     CAYDON USA PROPERTY GROUP                Hearing Date: August 18, 2023
                        HOLDINGS PTY LTD; ALEX                   Hearing time: 1:30 p.m.
                 22     BEATON, an individual; and DOES 1        Courtroom: 13A
                        through 50, inclusive,
                 23
                                         Defendants.
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                                               DECLARATION OF ELIZABETH A. SPERLING
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                  1                     DECLARATION OF ELIZABETH A. SPERLING
                  2           I, Elizabeth A. Sperling, declare as follows:
                  3           1.     I am an attorney duly licensed to practice law before all courts of the State
                  4     of California and in the Southern District of California and am a partner of Glaser Weil
                  5     Fink Howard Jordan & Shapiro LLP (“Glaser Weil”), attorneys of record for
                  6     Defendants Caydon San Diego Property LLC (“Caydon San Diego”), Caydon USA
                  7     Holding LLC (“Caydon USA Holding”), Caydon USA Property Group LLC (“Caydon
                  8     USA Property Group”) (collectively, “Caydon”), and Alex Beaton (collectively,
                  9     “Defendants”) in this matter. This declaration is submitted in support of Defendants’
                 10     Motion for Rule 41(d) Award of Fees and Costs Against Plaintiffs And for Stay of
                 11     Proceedings Pending Payment (the “Motion”). I have personal knowledge of the facts
                 12     set forth in this declaration and, if called as a witness, could and would testify
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                 13     competently to such facts under oath.
                 14           2.     On April 27, 2023, Plaintiffs initially commenced this action by filing a
                 15     complaint against Caydon in the Superior Court of the State of California, County of
                 16     San Diego, entitled The People of the State of California, et al. v. Caydon San Diego
                 17     Property LLC, et al., Case No. 37-2023-00017820-CU-MC-CTL (the “Original
                 18     Action”). The state court complaint included every Defendant named in this action with
                 19     the exception of Mr. Beaton.
                 20           3.     On behalf of Defendants, my office timely filed a notice of removal and
                 21     removed the Original Action to this Court on June 1, 2023, under 28 U.S.C. § 1332, as
                 22     none of the Defendants were domiciled in or citizens of the State of California.
                 23           4.     The Original Action was Case No. 3:23-cv-1020-LAB-DDL assigned to
                 24     the Honorable Larry Alan Burns. (See Original Action, Doc. No. 1.) My office also
                 25     filed an ex parte application in the Original Action for a 60 day extension of time to
                 26     respond to the complaint, as Plaintiffs refused to stipulate to any extension but then
                 27     failed to oppose the ex parte application. Judge Burns granted our ex parte application.
                 28           5.     Then on June 9, 2023, shortly after the Court granted our request for an
                                                                  2
                                                 DECLARATION OF ELIZABETH A. SPERLING
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                  1     extension, Plaintiffs filed a notice of voluntary dismissal of the Original Action, and
                  2     the case was subsequently dismissed. Plaintiffs’ counsel did not meet and confer with
                  3     my office before dismissing. That same day I reached out to the City Attorneys to
                  4     inquire regarding the reason for the dismissal, but the City Attorneys would not reveal
                  5     the reason for the dismissal.
                  6            6.       On June 14, 2023, the Court dismissed the Original Action without
                  7     prejudice in its entirety.
                  8            7.       Meanwhile, on June 12, 2023, Plaintiffs re-filed the instant action in the
                  9     Superior Court of the State of California, County of San Diego, entitled The People of
                 10     the State of California, et al. v. Caydon San Diego Property LLC, et al., Case No. 37-
                 11     2023-00024446-CU-MC-CTL (the “Present Action”), asserting the exact same claims
                 12     as in the Original Action, but naming Alex Beaton—a California resident—as a new
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                 13     defendant. Plaintiffs did not acknowledge anywhere that the Present Action is a replica
                 14     of the Original Action with the addition of Mr. Beaton nor did they file a notice of
                 15     related case.
                 16            8.       My office again timely removed the action to this Court on July 14, 2023,
                 17     and filed a notice of related case the same day.
                 18            9.       On July 13, 2023, prior to removing, I contacted Plaintiffs’ counsel to meet
                 19     and confer about the Present Action. I requested that Mr. Beaton be dismissed as he is
                 20     not a property party to this action, noted that this action and the Original Action are the
                 21     same but no notice of related case was filed, and requested that Plaintiffs stipulate to
                 22     the same extension of time to respond to the Complaint that the Honorable Larry A.
                 23     Burns previously granted in the Original Action. Plaintiffs’ counsel again refused to
                 24     agree to our requested extension, which necessitated my office having to prepare a new
                 25     ex parte application requesting the same relief again in this action. We would not have
                 26     had to prepare the new ex parte application but for Plaintiffs’ dismissal of the Original
                 27     Action.
                 28            10.      After this Court reached out to Plaintiffs’ counsel about the new ex parte
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                                                     DECLARATION OF ELIZABETH A. SPERLING
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                  1     application on July 17, 2023, inquiring as to whether Plaintiffs planned to oppose and,
                  2     if so, how much time they required, Plaintiffs’ counsel responded on July 18, 2023 that
                  3     they did not object to Defendants’ request and would not file an opposition. The Court
                  4     then granted our ex parte application.
                  5           11.    Defendants’ legal team in this matter consists of myself and two associates
                  6     of Glaser Weil: attorneys Alexander Miller and Jack Day. Based on my experience, a
                  7     legal team limited to one partner and two associates is reasonable and appropriate in
                  8     this type of case. By contrast, Plaintiffs are represented by the Office of the City
                  9     Attorney and we have already seen at least five lawyers from that office who have
                 10     appeared in or are known to be involved in the action.
                 11           12.    At all times, my colleagues and I have strove to provide efficient and
                 12     effective service. Moreover, as explained further below, my clients receive a deep
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                 13     discount on our standard hourly billing rates in connection with this action. The
                 14     following information is provided to the Court to assist it in adjudicating this Motion.
                 15           13.    I am a partner in the San Diego office of Glaser Weil, and the lead counsel
                 16     on this case. I have 21 years of extensive trial, arbitration, and appellate experience in
                 17     a broad range of commercial litigation matters. Before joining Glaser Weil, I was a
                 18     partner for many years in the Los Angeles Office of the international law firm of Alston
                 19     & Bird.
                 20           14.    I am responsible for managing, supervising, and developing the legal
                 21     strategy for the Original Action and the Present Action on Defendants’ behalf,
                 22     including preparing two notices of removal, two ex parte applications to extend time,
                 23     this Motion, and all supporting documents relating to these filings.
                 24           15.    My billing rate at Glaser Weil is $1,200 per hour. I provide a steeply
                 25     discounted rate to my clients in this matter, however, of $896.75 per hour. Based on
                 26     my knowledge and experience, my standard hourly billing rate and discounted rate
                 27     charged to my clients herein are commensurate with, and within the market range of,
                 28     hourly rates commonly charged in San Diego County by partners at comparable law
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                  1     firms with similar credentials, skills, and experience.
                  2           16.    Alexander Miller is a litigation associate at Glaser Weil whose practice
                  3     focuses on complex commercial litigation. Mr. Miller graduated from the University of
                  4     San Diego School of Law in 2013. Prior to joining Glaser Weil, Mr. Miller was a
                  5     litigation associate in the San Diego office of Cooley LLP. Prior to that, Mr. Miller
                  6     served as a law clerk to the Hon. J. Clifford Wallace, Senior Circuit Judge of the United
                  7     States Court of Appeals for the Ninth Circuit, and as a law clerk to the Hon. Michael
                  8     M. Anello, Senior District Judge of the United States District Court for the Southern
                  9     District of California.
                 10           17.    Under my supervision and management, Mr. Miller researched and
                 11     prepared the two ex parte applications to extend time and supporting papers, this
                 12     Motion and supporting papers, and other documents and tasks in both the Original
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                 13     Action and the Present Action.
                 14           18.    Mr. Miller’s hourly rate is $750. I provide a 15% discount to Defendants
                 15     for Mr. Miller’s services so that Defendants are charged only $637.51 per hour for his
                 16     time. Based on my knowledge and experience, Mr. Miller’s standard hourly billing rate
                 17     and discounted rate charged to Defendants in connection with this action are
                 18     commensurate with, and within the market range of, hourly rates commonly charged in
                 19     San Diego County by associates at comparable law firms with similar credentials,
                 20     skills, and experience.
                 21           19.    Jack Day is a litigation associate at Glaser Weil whose practice focuses on
                 22     complex commercial litigation. Mr. Day graduated from the University of California,
                 23     Irvine School of Law in 2018. Prior to joining Glaser Weil, Mr. Day was a litigation
                 24     associate in the Los Angeles office of O’Melveny & Meyers LLP.
                 25           20.    Under my supervision and management, Mr. Day assisted in researching
                 26     and preparing the notice of removal and supporting papers in both the Original Action
                 27     and the Present Action, as well as other documents and tasks.
                 28           21.    Mr. Day’s hourly rate is $550. I provide a 15% discount to Defendants
                                                                   5
                                                  DECLARATION OF ELIZABETH A. SPERLING
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                for Mr. Day's services so that Defendants are charged only $467.50 per hour for his
          2     time. Based on my knowledge and experience, Mr. Day's standard hourly billing rate
          3     and discounted rate charged to Defendants in connection with this action are
          4     commensurate with, and within the market range of, hourly rates commonly charged in
          5     San Diego County by associates at comparable law firms with similar credentials,
          6     skills, and experience.
          7           22.      Based on the foregoing attorneys' hours expended as outlined above, a
          8     total of 66.6 hours were spent in connection with the above-referenced services. My
          9     team has litigated the Original Action and the Present Action efficiently and
         10     economically, with a proper distribution of responsibility among the three professionals
         11     who work on the matter. This is a complex case in many respects involving many

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         12     parties, several of whom are citizens of other states and another country; the litigation

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         13     involves novel and complex legal issues; it is high profile and is receiving media

(1)
         14     attention due in no small part to Plaintiffs' efforts to gamer media attention by issuing

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ra       15     a press release about the case in which they denigrate Caydon; a number of motions
~        16     have already been required at this very early stage with more motions forthcoming
         17     (motion to dismiss for lack of personal jurisdiction and a possible Rule 12 motion to
         18     dismiss); and Defendants are private parties who are defending against the vast powers
         19     and resources of the State of California and the City of San Diego.
         20           23.      Based on a review of the applicable time records of my office, the total
         21     hours billed, standard and discounted hourly rates, and fees charged with respect to
         22     each attorney in connection with the above-referenced services are as follows :
         23         Timekeeper         Hours         [Standard        Discounted          Total Fees
                       Name            Billed      Hourly Ratel       Hourly Rate          Char~ed
         24
                 Elizabeth Sperling 18.4             [$1,200]          $896.75           $16,500.20
         25
                 Alex Miller           15.2          [$750]            $637.51           $9,690.15
         26
                 Jack Day              33            [$550]            $467.50           $15,427.50
         27
                 Total                                                                   $41,617.85
         28

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                  1           24.    Defendants are only seeking recovery of the discounted fees they were
                  2     actually charged in this matter.
                  3           25.    In addition to attorneys’ fees, Defendants also incurred and seek to recover
                  4     their costs in the amount of $1,229.98 from the Original Action, which includes
                  5     $1,041.95 in filing fees and $188.03 in printing and FedEx charges. These costs were
                  6     reasonably necessary to the conduct of the Original Action, as Defendants had to file
                  7     notices of removal in both State and Federal court, and mail courtesy copies of the
                  8     filings to the Court and to Plaintiffs.
                  9           26.    Part of my responsibilities as a partner is to review billing statements.
                 10     Over the course of my career, I have reviewed thousands of bills and am very familiar
                 11     with the fees normally associated with litigation. In my opinion and based on my years
                 12     of experience, the above-referenced fees and costs were reasonable and necessary under
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                 13     the circumstances. Moreover, the discounted rates I provide to my clients resulted in a
                 14     savings of approximately $10,012.15, in connection with the Original Action which we
                 15     otherwise would have sought to recover by this Motion. These discounts, which inure
                 16     to Plaintiffs’ benefit in connection with this Motion, underscore and confirm the
                 17     reasonableness of the amount of fees and costs that my clients are seeking to recover.
                 18           27.    Defendants are also seeking their fees incurred in connection with this
                 19     Motion. They include, without limitation, the time spent researching and analyzing
                 20     legal authorities bearing on this Motion; researching, drafting, and revising this Motion
                 21     and supporting declaration; reviewing and analyzing applicable billing entries; and
                 22     identifying and complying with procedures set forth in the Federal Rules of Civil
                 23     Procedure and the Local Rules.
                 24           28.    Based on a review of the applicable time records of my team, the total
                 25     current and anticipated hours billed, standard and discounted hourly rates, and fees
                 26     charged with respect to each attorney for this Motion are as follows:
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                    Timekeeper          Hours        [Standard          Discounted         Total Fees
          2           Name              Billed      Hourly Ratel        Hourly Rate         Charged

          3
                 Elizabeth Sperling 13             [$1 ,200]          $896.75            $11 ,657.75

          4      Alex Miller           35.3        [$750]             $637.51            $22,504.10

          5      Total                                                                   $34,161.85

          6           29.      I anticipate that I will spend approximately one hour reviewing the
          7     opposition to this Motion, three hours reviewing and preparing the reply brief, and three
          8     hours preparing for and attending the hearing on this matter, if any. I anticipate Mr.
          9     Miller will also spend approximately one hour reviewing the opposition to this motion,
         10     10 hours researching and drafting the reply brief, and three hours preparing for and
         11     attending the hearing on this matter, if any. These estimates are included in the chart

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         12     above. In the event there is no hearing on this matter, the above amounts should be


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         13     deducted by three hours for both timekeepers.
         14           30.      In total, as of the date of this filing, Defendants seek an award of
(1)


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V,
ra       15     $75,779.70 in attorneys' fees for the above-referenced work, including relating to this
~        16     Motion, and $1,229.98 in costs.
         17           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws
         18     of the United States of America that the foregoing is true and correct and that this
         19     declaration is executed on July 20, 2023, in San Diego, California.
         20
                                                       Isl Elizabeth A. Sperling
         21                                          Elizabeth A. Sperling
         22

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                                         DECLARATION OF ELIZABETH A. SPERLING
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